           Case 1:19-cv-00773-LJL Document 55 Filed 05/21/20 Page 1 of 4

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May 21, 2020                                                                     mgangat@gangatpllc.com


via ECF

Hon. Lewis J. Liman, USDJ
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

                Re:     El Aalaoui v. Lucky Star Gourmet Deli Inc. et al., 19-cv-773-LJL

To the Honorable Judge Liman:

       I represent the Plaintiff, Mohammed El Aalaoui in the above-referenced action and
submit this letter in response to the letter from counsel for defendants 305 Grocery Deli Corp.,
Omar Allhabi and Hamdi Allhabi (collectively, the “Defendants”), dated May 15, 2020 [ECF
#50].

       Defendants seek a pre-motion conference for their contemplated Order to Show Cause.
Defendants’ motion would be to vacate the default judgment in this action, and obtain a TRO
prohibiting Plaintiff from enforcing or collecting upon the judgment. Plaintiff discusses below the
reasons why that motion will be unsuccessful, and why before such a motion is briefed, the Court
should order limited discovery on factual issues related to defendants’ claims of a meritorious
defense.

        In addition to seeking a pre-motion conference for their contemplated Order to Show
Cause, Defendants also seek an “emergency hearing at which Plaintiff is required to personally
participate via teleconference so that the Court can make the determination of whether it is
proper to dismiss the case pursuant to Fed. R. Civ. Pro. 41, in light of the Notice of Settlement
filed on February 28, 2020 [Dckt. No. 31].” (Defendants’ May 15 Letter, at p. 1.) There is no
cited legal authority for this extraordinary request. And Defendants have not put forward
sufficient factual evidence to support granting such extraordinary relief.

        1. The Default Judgment Should Not Be Vacated

                a. Ineffective Service

       Defendants argue Plaintiff failed to serve the Complaint on defendants Omar Allhabi and
Hamdi Allhabi (the “Individual Defendants”). Plaintiff agrees that a failure to serve the
complaint on a defendant renders the judgment void as per FRCP 60(b)(4). According to
Defendants, Plaintiff used the wrong address. Defendants intend on submitting affidavits to
prove that the address Plaintiff used was not the Individual Defendants’ actual place of business.
          Case 1:19-cv-00773-LJL Document 55 Filed 05/21/20 Page 2 of 4



       New York law provides for personal service upon a natural person via delivery of
summons “to a person of suitable age and discretion at the actual place of business, dwelling
place or usual place of abode of the person to be served,” and by mailing the summons to that
defendant at his or her last known residence or actual place of business. CPLR § 308(2).

        Plaintiff will easily meet this standard by providing his own affidavit and the affidavit of
the process server in this case. Plaintiff’s affidavit will state that, based on his personal
knowledge, Plaintiff knows that the address in the process server’s affidavit was, in fact, the
actual place of business. This will show that service on the Individual Defendants was proper.

               b. Willfullness

         In order to for Defendants to establish grounds for vacatur, Defendants must show that
their default was not willful. Default is considered willful for purposes of 60(b)(1) “where the
conduct of counsel or the litigant was egregious and was not satisfactorily explained.” S.E.C. v.
McNulty, 137 F.3d 732, 738 (2d Cir. 1998); Hernandez v. La Cazuela de Mari Rest., Inc., 538 F.
Supp. 2d 528, 533 (E.D.N.Y. 2007) (rejecting movant’s willfulness argument based in part on
fact that movant had been sued before and was aware from the experience the consequences of
letting a default judgment be taken against it); Quintana v. Young Blooming, Inc., 12-CV-120
(DLI)(MDG), 2016 WL 1273231, at *5 (E.D.N.Y. Mar. 30, 2016) (finding willfulness where
“Defendants knew that this action was pending against them and that it required their attention”
and noting that “[w]hile understandable that they would not grasp the legal complexities of
litigating wage and hour claims in federal court, it was not excusable for them simply to ignore
this case altogether”)

        Defendants claim that after receiving constructive notice of the lawsuit, they reached out
to Plaintiff, communicated an intention to settle, and then on or around January 20, 2020, before
a Notary Public, a settlement was reached. Accordingly, they were surprised by the default
judgment and did not intend to avoid their obligations in court. In making this claim, Defendants
gloss over the timeline, and obscure the facts. As discussed below, the fact of the matter is that
Defendants have been harassing and threatening Plaintiff in an attempt to have him back down
from the lawsuit from the moment it was served upon them. It was only once a judgment was
issued against them putting their assets in peril that they decided to address this matter through
the courts.

        This lawsuit was commenced on January 25, 2019. Defendants admit that in February
2019, Plaintiff properly served Defendant 305 Grocery Deli Corp., a business owned by the
Individual Defendants, (see Defendants’ Letter, p. 5). In March 2019, Defendants contacted me
in an attempt to settle but no settlement was reached. Thereafter, for several months, Defendants
continued to contact me and contact Plaintiff promising that they were securing money to pay
Plaintiff a settlement. I consistently reminded Defendants that they needed a lawyer and that we
would continue to prosecute them in Court.

        Throughout the default judgment process, Defendants were fully aware of every action
Plaintiff took and received copies of everything that Plaintiff attempted to serve. Plaintiff knows
this and can attest to this because the Defendants were actively communicating with him. Thus,
          Case 1:19-cv-00773-LJL Document 55 Filed 05/21/20 Page 3 of 4



Defendants’ claim that they assumed this case was over when they filed a waiver of liability on
the docket should be viewed as without merit.

               c. Meritorious Defense

       “In order to make a sufficient showing of a meritorious defense in connection with a
motion to vacate a default judgment, the defendant need not establish his defense conclusively,
but he must present evidence of facts that, if proven at trial, would constitute a complete
defense.” State St. Bank and Tr. Co. v. Inversiones Errazuriz Limitada, 374 F.3d 158, 167 (2d
Cir. 2004).

        Defendants first argue there is no jurisdiction because of the size and nature of their
business. Defendants offer no evidence in support of this argument. Plaintiff can provide an
affidavit that based on his working at the business, he knows how much money they business
makes and can attest that the jurisdictional threshold is met.

         Defendants argue that no spread of hours should be awarded in the judgment. Plaintiff
concedes there is legal authority to not award spread of hours for some portion of the
employment period. This, however, is not a meritorious defense because in the context of FLSA
actions, a “complete defense” is one that proves there was no violation of the FLSA, and not one
that merely speaks to the quantum of damages. See Belizaire v. RAV Investigative and Sec.
Services, Ltd., 310 F.R.D. 100, 105 (S.D.N.Y. 2015) (in FLSA action alleging failure to pay on a
timely basis, Rule 60(b)(1) movant failed to show a meritorious defense where it conceded that a
few payments were untimely and only challenged the number and the timing of the late wage
payments).

        Individual Defendant Hamdi Allhabi argues that there is no evidence in the record
supporting a finding that he was Plaintiff’s employer. He is wrong. The record includes
Plaintiff’s Affidavit in Support of Motion for Default Judgment, Docket No. 39, and there, at
paragraph 6, Plaintiff attests to the fact that Hamdi Allhabi set the terms and conditions of his
employment.

        Defendants argue that the Plaintiff exaggerates how many hours he worked, and that in
there was an agreement between the parties that Plaintiff’s weekly pay could cover all of his
straight-time hours and any overtime hours he would have worked. Defendants say their business
records prove all of this. Defendants have not provided any business records. I did meet and
confer with Defendants and requested we agree to a limited discovery schedule and put off the
motion. Defendants refused the request. Without reviewing the business records, Plaintiff
cannot offer a substantive response, other than to refer to his sworn testimony which refutes that
there was any agreement between the parties pertaining to overtime compensation, and which
reflects Plaintiff’s recollection of wages paid and hours worked.

       Plaintiff offers that in a unpaid wage controversy such as this one, Defendants ought to be
required to produce in discovery, at a minimum, the wage and hour records, which they contend
support their meritorious defense, prior to the parties engaging in briefing on the matter.
             Case 1:19-cv-00773-LJL Document 55 Filed 05/21/20 Page 4 of 4



                d. Prejudice

        Courts find that where there vacating a default may hinder the ability to satisfy a judgment, it
is appropriate to require as a condition of vacating the default, that defendants posts a bond with the
Court. Plaintiff requests that as a precondition of any vacatur in this action, Defendants be required to
post a bond.

        2.    Temporary Restraining Order

         “[T]he traditional standards which govern consideration of an application for a [TRO] . . . are
the same . . . as those which govern a [PI].” Local 1814, Int’l Longshoremen's Ass'n, AFL– CIO v.
New York Shipping Ass'n, Inc., 965 F.2d 1224, 1228 (2d Cir.1992). “A preliminary injunction is
considered an ‘extraordinary’ remedy that should not be granted as a routine matter.” See Ahmad v.
Long Island Univ., 18 F. Supp. 2d 245, 247 (E.D.N.Y. 1998) (quoting JSG Trading Corp. v. Tray–
Wrap, Inc., 917 F.2d 75, 80 (2d Cir.1990)). The decision to grant or deny it rests in the district
court’s “sound discretion.” Id. To obtain a preliminary injunction, a moving party must show: (1)
likelihood of success on the merits; (2) likelihood that the moving party will suffer irreparable harm
if a preliminary injunction is not granted; (3) that the balance of hardships tips in the moving party’s
favor; and (4) that the public interest is not disserved by the requested relief. Salinger v. Colting, 607
F.3d 68, 80–83 (2d Cir. 2010).

        Plaintiff submits that Defendants have not shown a likelihood of success on the merits of
their motion seeking to vacate default and therefore no temporary restraining order should be
allowed. Furthermore, the public interest would not be served by allowing the requested relief. It
would simply incentivize New York corporations to, rather than hire a lawyer and respond to the
lawsuit in Court, take their chances threatening and harassing their employees into submission
outside of Court.

        Moreover, Plaintiff submits that to the extent a temporary restraining order is issued, it
should only be done with an order requiring defendants to submit to discovery, so that the parties
may immediately proceed to developing the factual record that would be needed to resolve all of the
issues raised by Defendants’ contemplated motion.

        Thank you for your attention to this matter.


                                                                 Respectfully Submitted,

                                                                 /s/ Mohammed Gangat, Esq.
                                                                 Mohammed Gangat, Esq.
